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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA



   AARON GREENSPAN,

       Plaintiff,

               v.                                            Case No. 1:23-cv-01816-BAH

   EXECUTIVE OFFICE FOR U.S.
   ATTORNEYS, et al,

       Defendants.


 PLAINTIFF’S EMERGENCY MOTION FOR HEARING TO COMPEL IMMEDIATE
                     DOCUMENT PRODUCTION


       This lawsuit concerns a number of Freedom of Information Act (FOIA) requests about
Bola Ahmed Tinubu, who is recognized by many as the current President of Nigeria. Mr.
Tinubu had a role in the early 1990s laundering money for a heroin ring in Chicago. The FOIA
requests at issue in this case largely involve documents that more fully describe his role in that
criminal enterprise.
       Mr. Tinubu’s 2023 election to the Nigerian presidency is hotly contested. According to
The New York Times, “A judicial tribunal in Nigeria confirmed on Wednesday [September 6,
2023] the results of a contested February presidential election that kept Africa’s most populous
country on edge amid allegations of voting irregularities and tainted the first months in power for
the declared winner, President Bola Tinubu.” See “Nigerian Court Rejects Challenges to
Contested Presidential Election” by Elian Peltier, September 6, 2023,
https://www.nytimes.com/2023/09/06/world/africa/nigeria-decision-presidential-election.html.
While the same New York Times article also reported that, “The plaintiffs have 60 days to file an
appeal to Nigeria’s Supreme Court,” in the past 24 hours, the timeline of events appears to have
accelerated dramatically in Nigeria. Id. The Nigerian Supreme Court now plans to begin




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hearing argument regarding the circumstances of Mr. Tinubu’s election on Monday, October 23,
2023. The sudden advance in timing appears intended to front-run the release of responsive
FOIA documents from the defendants in this action, and especially the Federal Bureau of
Investigation. Those documents would likely be directly relevant to the foreign proceedings in
Nigeria.
       Through Defendants’ counsel, Plaintiff made Defendants aware of the foreign
proceedings in Nigeria in September 2023. Defendants acknowledged the unique circumstances
in this case and affirmed that documents would be produced as they became available. No
documents have been produced thus far.
       Attached to this motion as Exhibit A is a document that purports to be a scheduling order
relevant to these matters issued by the Supreme Court of Nigeria.
       Pursuant to Local Civil Rule 7(m), Plaintiff attempted to discuss this matter by e-mail
and phone with Attorney Littman, but he responded that he is on leave today.
       In light of the above, Plaintiff requests a remote Zoom (or similar) hearing at the Court’s
earliest convenience—and ideally, on Monday, October 23, 2023—to discuss even the most
remote possibility of documents being produced before the October 31, 2023 chosen by
defendants for themselves.


Dated: October 20, 2023              Respectfully submitted,




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                             EXHIBIT A
               Nigerian Supreme Court Scheduling Order
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